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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 UNITED STATES OF AMERICA


 vs.                                               Case No: 8:21-Cr-218-T-02AAS


 JOSHUA FISHER
 _____________________________/


                        MOTION TO TRANSFER DEFENDANT

       COMES NOW, the Defendant, JOSHUA FISHER, by and through his

 undersigned counsel, and hereby files this Motion to Transfer Defendant, and states:

                                     Background

       Mr. Fisher and fifteen (15) co-defendants were charged in a twelve (12) Count

 Indictment with committing various acts of violence in furtherance of a racketeering

 enterprise (Doc. 1).

       The undersigned was appointed to represent Mr. Fisher on July 15, 2021,

 pursuant to the Criminal Justice Act (Doc. 30).

       This case is currently scheduled for a telephonic Status Conference on

 Thursday, March 10, 2022 at 8:30 a.m. (Doc. 445).

                                Request for Transfer

       Currently, due to COVID-19 protocols, in-person meetings are not permitted

 at the Pinellas County Jail, where the Defendant is currently housed, and has been
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 housed since July 15, 2021. Other jail facilities that house Federal inmates

 (specifically Citrus County Jail) do currently allow for in-person visits for attorneys

 and their Clients and allows for complete review of discovery.

       The undersigned has been communicating with Mr. Fisher by video

 conferencing; however, it is difficult and almost impossible to review audio and

 video discovery with his Client over video conferencing. Mr. Fisher is requesting to

 review all discovery in his case and is currently unable to do so while housed at

 Pinellas County Jail.

       This Honorable Court has previously granted requests for transfers from two

 (2) co-defendants (Doc. 440 and Doc. 444). Should this motion be granted, the

 Defendant is requesting that the Court also order the transfer of all of the

 Defendant’s belongings, including books, notes, and any discovery in his possession.

                              Position of the Government

       The undersigned has attempted to confer with Samantha Beckman, Assistant

 United States Attorney, but has not heard back as to her position to this Motion to

 Transfer Defendant.



       WHEREFORE, the Defendant moves this Honorable Court to grant his

 Motion to Transfer Defendant to a facility in the local area that will allow for in-

 person visitation with counsel to review the voluminous discovery in his case.



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                           CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that the original of the foregoing has been furnished by
 Electronic Filing to Elizabeth M. Warren, Clerk of the Court, U.S. District Court,
 Middle District of Florida, located at U.S. Courthouse, 801 N. Florida Ave., #223,
 Tampa, FL 33602-3800, and that e-mail notification of this filing will be sent to all
 interested persons on this 3rd day of March, 2022.


                                                _____/s/ Jeffrey G. Brown____________
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